                                                     Case 1:23-cv-00108-LMB-JFA Document 360-2 Filed 08/30/23 Page 1 of 3 PageID# 5423
                                                                                        United States, et al. v. Google LLC , No. 1:23-cv-108 (E.D. Va.)                                                                   Contains Confidential Informaton
                                                                                                      Privilege Log (dated Aug. 23, 2023)
                                                                                                                                                                            Privilege(s)
No.   Bates No.   Custodian(s)   Author(s)/From To                  CC                                          BCC   Date        Subject                 Attorney Involved Asserted       Privilege Basis

                                                                                                                                                                                           Document prepared at the request of an attorney in connection with request for
                                                                                                                                                                                           information directed by DOJ relating to USPS digital advertising purchases
                                                                                                                                                                                           held on USPS's behalf by its advertising agency in anticipation of US v
                                                                                                                                                                                           Google litigation and necessary for DOJ to render legal advice to USPS in
                                                                                                                                  [EXTERNAL] FW:          Michael Weaver**;                connection with potential claims against Google, drafted during and sent
     USPS-ADS-    Christopher                    Christopher                                                                      list of 3rd party       Michael Wolin**; Attorney Work   within an hour of a meeting between USPS and DOJ related to digital
2897 0000037418   Karpenko       Michael Knopf   Karpenko                                                               1/11/2023 platforms               Chase Pritchett** Product        advertising purchases, as well as response thereto from contractor

                                                                                                                                                                                           Document prepared at the request of an attorney in connection with request for
                                                                                                                                                                                           information directed by DOJ relating to USPS digital advertising purchases
                                                                                                                                                                                           held on USPS's behalf by its advertising agency in anticipation of US v
                  Christopher                                                                                                                                                              Google litigation and necessary for DOJ to render legal advice to USPS in
                  Karpenko;                                                                                                       FW: [EXTERNAL]          Michael Weaver**;                connection with potential claims against Google, drafted during and sent
     USPS-ADS-    Michael        Christopher                        Kimberly Workinger; Maria Votsch**;                           RE: list of 3rd party   Michael Wolin**; Attorney Work   within an hour of a meeting between USPS and DOJ related to digital
2898 0000141557   Bottenberg     Karpenko        Michael Weaver**   Michael Bottenberg                                  1/17/2023 platforms               Chase Pritchett** Product        advertising purchases, as well as response thereto from contractor

                                                                                                                                                                                           Document prepared at the request of an attorney in connection with request for
                                                                                                                                                                                           information directed by DOJ relating to USPS digital advertising purchases
                  Christopher                                                                                                                                                              held on USPS's behalf by its advertising agency in anticipation of US v
                  Karpenko;                                                                                                                                                                Google litigation and necessary for DOJ to render legal advice to USPS in
                  Brian Pasco;                                                                                                    RE: [EXTERNAL]          Michael Weaver**;                connection with potential claims against Google, drafted during and sent
     USPS-ADS-    Michael        Christopher     Lisa Catucci;      Michael Bottenberg; Brian Pasco; Kimberly                     RE: list of 3rd party   Michael Wolin**; Attorney Work   within an hour of a meeting between USPS and DOJ related to digital
2899 0000037567   Bottenberg     Karpenko        Michael Knopf      Workinger                                           1/11/2023 platforms               Chase Pritchett** Product        advertising purchases, as well as response thereto from contractor

                                                                                                                                                                                           Document prepared at the request of an attorney in connection with request for
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                  Christopher                                                                                                                                                              held on USPS's behalf by its advertising agency in anticipation of US v
                  Karpenko;                                                                                                                                                                Google litigation and necessary for DOJ to render legal advice to USPS in
                  Brian Pasco;                   Christopher                                                                      [EXTERNAL] RE:          Michael Weaver**;                connection with potential claims against Google, drafted during and sent
     USPS-ADS-    Michael                        Karpenko; Michael Michael Bottenberg; Brian Pasco; Kimberly                      list of 3rd party       Michael Wolin**; Attorney Work   within an hour of a meeting between USPS and DOJ related to digital
2900 0000041965   Bottenberg     Lisa Catucci    Knopf             Workinger                                            1/11/2023 platforms               Chase Pritchett** Product        advertising purchases, as well as response thereto from contractor

                                                                                                                                                                                           Document prepared at the request of an attorney in connection with request for
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                                                                                                                                  [EXTERNAL] RE:          Michael Weaver**;                connection with potential claims against Google, drafted during and sent
     USPS-ADS-    Christopher                    Christopher                                                                      list of 3rd party       Michael Wolin**; Attorney Work   within an hour of a meeting between USPS and DOJ related to digital
2901 0000043815   Karpenko       Michael Knopf   Karpenko                                                               1/11/2023 platforms               Chase Pritchett** Product        advertising purchases, as well as response thereto from contractor




** = Denotes Attorneys                                                                                                Page 1 of 3
                                                     Case 1:23-cv-00108-LMB-JFA Document 360-2 Filed 08/30/23 Page 2 of 3 PageID# 5424
                                                                                         United States, et al. v. Google LLC , No. 1:23-cv-108 (E.D. Va.)                                                                  Contains Confidential Informaton
                                                                                                       Privilege Log (dated Aug. 23, 2023)
                                                                                                                                                                                          Document prepared at the request of an attorney in connection with request for
                                                                                                                                                                                          information directed by DOJ relating to USPS digital advertising purchases
                  Christopher                                                                                                                                                             held on USPS's behalf by its advertising agency in anticipation of US v
                  Karpenko;                                                                                                                                                               Google litigation and necessary for DOJ to render legal advice to USPS in
                  Brian Pasco;                                                                                                                      Michael Weaver**;                     connection with potential claims against Google, drafted during and sent
     USPS-ADS-    Michael         Christopher    Lisa Catucci;       Michael Bottenberg; Brian Pasco; Kimberly                list of 3rd party     Michael Wolin**; Attorney Work        within an hour of a meeting between USPS and DOJ related to digital
2902 0000145288   Bottenberg      Karpenko       Michael Knopf       Workinger                                      1/11/2023 platforms             Chase Pritchett** Product             advertising purchases

                                                                                                                                                                                          Document prepared at the request of an attorney in connection with gathering
                                                                                                                              RE: Request for an    Department of                         information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    John Horning;                                      Matthew Weinrich; Shannon Johnson; Lennox                Online Advertising    Justice Antitrust     Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2903 0000094471   John Horning    John Horning   Adam Jones          Morris                                        12/27/2022 POC                   Division**            Product         United States against Google related to digital advertising purchases

                                                 Adam Jones;                                                                                                                              Document prepared at the request of an attorney in connection with gathering
                                                 Matthew Weinrich;                                                            RE: Request for an    Department of                         information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    John Horning;                  Shannon Johnson;                                                             Online Advertising    Justice Antitrust     Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2904 0000094502   John Horning    John Horning   Lennox Morris                                                     12/29/2022 POC                   Division**            Product         United States against Google related to digital advertising purchases

                  John Horning;                                                                                                                                                           Document prepared at the request of an attorney in connection with gathering
                  John Horning;                                                                                               RE: Request for an    Department of                         information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    Lennox Morris;                                     Matthew Weinrich; Shannon Johnson; Lennox                Online Advertising    Justice Antitrust     Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2905 0000121371   Matt Weinrich John Horning     Adam Jones          Morris                                        12/27/2022 POC                   Division**            Product         United States against Google related to digital advertising purchases

                  John Horning;                  Adam Jones;                                                                                                                              Document prepared at the request of an attorney in connection with gathering
                  John Horning;                  Matthew Weinrich;                                                            RE: Request for an    Department of                         information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    Lennox Morris;                 Shannon Johnson;                                                             Online Advertising    Justice Antitrust     Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2906 0000121385   Matt Weinrich John Horning     Lennox Morris                                                     12/29/2022 POC                   Division**            Product         United States against Google related to digital advertising purchases

                  John Horning;                  Adam Jones;                                                                                                                              Document prepared at the request of an attorney in connection with gathering
                  John Horning;                  Matthew Weinrich;                                                            RE: Request for an    Department of                         information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    Lennox Morris;                 Shannon Johnson;                                                             Online Advertising    Justice Antitrust     Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2907 0000121389   Matt Weinrich John Horning     Lennox Morris                                                     12/29/2022 POC                   Division**            Product         United States against Google related to digital advertising purchases

                                                                                                                                                                                          Document prepared at the request of an attorney in connection with gathering
                  John Horning;                                                                                               RE: Request for an    Department of                         information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    John Horning;                  Matthew Weinrich;                                                            Online Advertising    Justice Antitrust     Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2908 0000121392   Matt Weinrich   John Horning   Shannon Johnson                                                   12/29/2022 POC                   Division**            Product         United States against Google related to digital advertising purchases

                                                                                                                                                                                          Document prepared at the request of an attorney in connection with gathering
                                                                                                                              RE: Request for an     Department of                        information at request of and as directed by Department of Justice Antitrust
     ARMY-ADS-    Lennox Morris;                                                                                              Online Advertising     Justice Antitrust    Attorney Work   Division to assist Antitrust Division in assessing potential damages claims by
2909 0000154092   Lennox Morris Lennox Morris    Adam Jones                                                        12/29/2022 POC                    Division**           Product         United States against Google related to digital advertising purchases
                                                                                                                                                     Michael Wolin**;                     Confidential communication between attorney and client containing legal
                                                                                                                                                     Sivram Prasad**;                     advice regarding and document prepared at the request of an attorney in
                                                                                                                                                     George Nierlich**;                   connection with gathering information at request of and as directed by
                                                                                                                              FW: Inquiry from       Marymichael                          Department of Justice Antitrust Division to assist Antitrust Division in
     ARMY-ADS-    Lennox Morris;                                                                                              Department of Justice, Hough**; Chase       Attorney Work   assessing potential damages claims by United States against Google related to
2910 0000154100   Lennox Morris Lennox Morris    Leeann Craig                                                        1/9/2023 Antitrust Division     Pritchett**          Product         digital advertising purchases




** = Denotes Attorneys                                                                                             Page 2 of 3
   Case 1:23-cv-00108-LMB-JFA Document 360-2 Filed 08/30/23 Page 3 of 3 PageID# 5425


Name                   Organization       Email
Lisa Catucci           Universal McCann
Michael Knopf          Universal McCann
Adam Jones             US Army
John Horning           US Army
Leeann Craig           US Army
Lennox Morris          US Army
Matt Weinrich          US Army
Matthew Weinrich       US Army
Shannon Johnson        US Army
Sivram Prasad**        US Army
Chase Pritchett**      US DOJ             Chase.Pritchett@usdoj.gov
Michael Wolin**        US DOJ             Michael.Wolin@usdoj.gov
George Nierlich**      US DOJ             George.Nierlich@usdoj.gov
Marymichael Hough**    US DOJ             Marymichael.Hough@usdoj.gov
Brian Pasco            USPS
Christopher Karpenko   USPS
Kimberly Workinger     USPS
Maria Votsch**         USPS
Michael Bottenberg     USPS
Michael Weaver**       USPS




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